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1    Olaf W. Hedberg, SBN #151082
     Olaf W. Hedberg, Attorney at Law
2    901 H St., Suite 673
     Sacramento, CA 95814
3    (916) 447-1192
     Attorney for Defendant
4
                             IN THE UNITED STATES DISTRICT COURT
5                          FOR THE EASTERN DISTRICT OF CALIFORNIA

6

7
                                                    )
8    UNITED STATES OF AMERICA                            No. 11-CR-354 LKK
                                                    )
                                                    )
9                   Plaintiff,                           STIPULATION AND ORDER
                                                    )
            vs.
                                                    )
10                                                       Date: November 14, 2012
                                                    )
     Evaristo Arreola-Ventura                            Time: 9:15 am
                                                    )
11   Oscar Gomez Goribaldo                               Judge: Hon. Lawrence K. Karlton
                                                    )
                                                    )
12                  Defendant.

13
            IT IS HEREBY STIPULATED by and between the parties hereto through their
14
     respective counsel, Todd Leras, Assistant Untied States Attorney, attorney for Plaintiff, Olaf
15
     Hedberg, attorney for Evaristo Arreola-Ventura, and Ben Galloway, attorney for Oscar Gomez
16
     Goribaldo that the status conference now scheduled for November 14, 2012 at 9:15 am be
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     vacated and a new date of January 15, 2013 at 9:15 am be set for further status conference. There
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     is an ongoing inquiry into technical problems with some of the discovery and there will be
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     discovery forthcoming. Further, Defense counsel is continuing to investigate this case.
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            It is further stipulated and agreed between the parties that the period beginning
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1    November 14, 2012 and ending January 15, 2013 , should be excluded in computing the time

2    within which the trial of the above criminal prosecution must commence for the purpose of the

3    Speedy Trial Act for defense preparation. Counsel for the parties agree that this is an appropriate

4    exclusion of time within the meaning of Title 18, United States Code 3161(h)(7)(B)(iv)

5    (continuity of counsel/reasonable time for effective preparation, specifically the continuance is

6    requested to allow counsel time to review discovery and conduct investigation) and Local Code

7    T4, and that the ends of justice to be served by granting the continuance outweigh the best

8    interest of the public and the defendant to a speedy trial.

9

10                                                          Respectfully submitted,
                                                            Dated November 9, 2012
11                                                          By /s/ Olaf Hedberg
                                                            Olaf W. Hedberg, Attorney at Law
12                                                          Attorney for Evaristo Arreola-Ventura

13                                                          Respectfully submitted,
                                                            Dated November 9, 2012
14                                                          By /s/ Benjamin Galloway
                                                            Benjamin Galloway, Attorney at Law
15                                                          Attorney for Oscar Gomez Goribaldo

16

17                                                          Dated this November 9, 2012
                                                            Benjamin B. Wagner
18                                                          United States Attorney
                                                            /s/ Olaf Hedberg for Todd Leras
19                                                          Michele Beckwith
                                                            Assistant U.S. Attorney
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4                                                  ORDER

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     UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the status
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     conference previously set for November 14, 2012 be continued to January 15, 2013 at 9:15 a.m.
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     Based on the representations of counsel and good cause appearing therefrom, the Court hereby
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     finds that the ends of justice to be served by granting a continuance outweigh the best interests of
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     the public and the defendant in a speedy trial. It is ordered that time from November 14, 2012 ,
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     to and including, the January 15, 2013 , status conference shall be excluded from computation of
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     time within which the trial of this matter must be commenced under the Speedy Trial Act
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     pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
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15   DATED: November 13, 2012

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